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                                    NO N-PRO SECUTION AGREEM ENT

         1. TheUnitedStatesAttorney'sOë cefortheW esternDistrictofVirginia('GUSAO-
W DVA'') and Patterson Companies,Inc.Cpatterson'')7and any and a1lcurrent and former
am liated entities including, but not limited to, AnimalHealth International, lnc. (&&A'
                                                                                       HI'')
(collectively referred to as the K&company'') enter into this Non-prosecution Agreement
CAgreemenf')to resolve the investigation by the USAO-W DVA ofthe Company related to
possible violations of federallaw srelating to the licensing,dispensing,distribution,or sale of
veterinary prescription drugs.

      2. This Agreement, in conjunction with the Plea Agreement with AI'     II (Tlea
Agreemenf'),resolvesal1ofthe Company'spotentialfederalcriminalliability fortheoffenses
coveredherein and in thePleaAgreement.
       3.    The U SAO-W DVA enters into this Agreem ent based on the individual
circumstancespresented bytiliscase including:

                a.    Patterson'scooperation with theUSAO-W DVA investigation since
          June2018,and Al-ll'ssubsequentcooperation underthe direction ofPatterson,as
          wellasthe Company'scontinued cooperation underthe direction ofthe Special
          InvestigationCommitteeoftheBoardofDirectorsofPatterson(&SIC'')whichwas
          formed in April2019.Since 2018,the Company has conducted a thorough and
          robust internal investigation; proactively brought information to the U SAO-
          W DVA 'S attentiona rem ediated noncompliant adivity and im plem ented control
          enhancem ents, including certain licensing, dispensing, distribution and related
          salespracticescompany-wide;m ade factualpresentationsto the USAO-W DVA ;
          timely and fully produced a11requested docum ents;enteredinto agreementstolling
          relevantstatutesoflimitations;and collected,analyzed,and organizedvoluminous
          dataand information fortheU SAO-W DVA.
                 b.     Patterson's voluntary disclosure to the USAO-W DVA of non-
          compliant licensing, dispensing, distribution, and sales at AFII and Patterson
          beyond Al-ll's conductsetforth in the Inform ation and Plea Agreement,and its
          timely efforts to rem ediate non-compliant activity and enhance controls and
          processesto mitigate Againstfuture reoccurrence.The additionalnon-compliant
          activityinvolvedwholesaledistributionofveterinaryprescriptiondrugs:(i)without
          verifying the continued validity ofal1practitioners'licensesinthe receiving state;
          (ii)withoutverifying thatan alternate location requested by the customer was
          authorized by state 1aw to receive veterinary prescription drugs;(iii) without
          verifying that veterinarians licensed in Virginia were also associated with a
          veteriàary establishment registered with the Virginia Board of Veterinary
          M edicine,(iv)withoutvalid licensureto ship tothestatetowhichthedrugswere
          shippedpand/or(v)to endusersinstateswheredrop shipmentsbywholesalersto
          end usersis notallowed.The additionalnon-compliantactivity wasdue to pdor
          weaknessesandinconsistenciesamong AFIIandPatterson regulatory functionsand
          processes,as wellas system challengespresented by the Company's enterprise
          resource planning implem entation. The Company has since taken extensive
AttachmentB-Non-prosecutionAgreementwithPattersonCompanies,Inc.
 UnttedStatesv.AnimalHealfhInternational,Inc.

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        proadivestepsto enhanceitsregulatoryfunction,capabilitiesand supporttoguide
        the businessand othercontrolfunctionson regulatory oompliance matters.Ithas
        also enhanced itsregulatory system controlsto addresstheissuesdisclosed in the
        investigation and to verify that veterinary prescription drugs are shipped from
        facilitieswith required statelicensesand to customersand locationsauthorized by
         state1aw toreceiveveterinaryprescriptiondrugs.Consistentwithitsapjroachto
         the USAO-W DVA Patterson also disclosed thepending federalinvestlgation to
         state regulatorsin a1150 statesand continues to engage with state regulators,as
         appropriate,onm attersre1atedtotheU SAO-W DVA investigation.

                c.     The Company's enhanced regulatory compliançe processes and
         comm itm entto implementacomplianceprogram thatmeetsthem inimum elements
         setforthinAttachmentC tothePleaAgreementrtcorporateComplianceProgram
         Agreemenf').
               d.     The Company's agreement to comply with the terms of the
         Agreem entandPleaAgreement.
                 e.    AY 'sadmissiontoand theCompany'sagreem entwiththefactsand
         allegationssetforth in thePleaAgreement.

                f      Although the investigation did notinvolve controlled substances,
         theCompany'srecognitionthatdiversion ofcontrolled substances,including drugs
         of the type that are prescribed and dispensed by veterinrians, such as
         buprenom hine and hydrocodone, should be a concern of a11 distributors and
         dispensersofthosedrugsandtheCompany'songoing com mitmentto beproadive
         in detening diversion and identifying and notifying authorities of suspicious
         ordering.

        4.     TheCompany agreesitFillnottakeanytax deduction orseek oracceptdirectly or
indirectly reimbursem entorindemnification from any source forany paymentsmade pursuantto
thePlea Agreement.
         5.        No money paid by the Company willbe returned,and the Company expressly
agreestoreleaseanyandallclaimsitmayhavetothemoney.TheCompanywillnot5lean#claim
orotherwisecontestthe paymentofmoney setforth in thisPleaAgreement,and itwillnotassist
anyonein asserting a claim tothemoney.

       6.     Nothing in thisAgreem entorany related documentsisan adm ission bytheUnited
Statesthatthe amountspaid bytheCompany are them aximum am ountsthatcould be recovered
from theCompany in the absenceofan acceptedpleaagreement.IftheCompany doesnotcomply
with al1ofitsobligationsunderthisAgreement,theUnited Statesisnotprecluded from arguing
orpresenting evidencethatthetotalamounttobe paid by theCompany should be higher.
         7.       TheCompany'sobligatipnsunderthisAgreementshallhave aterm of42 months
from thedateonwhichtheAgreementisexecuted(the(&Term'').
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         8.      During theTerm,theCompany willfully cooperatewiththeUSAO-W DVA .
      9.    During the Term, the Company shallundertake and abide by the tenns ofthe
CorporateComplianceProgram Agreem entin AttachmentC to thePlea Agreement.

        10. If the Company complies with al1 ofthe terms ofthis Agreem entand the Plea
Agreement the U SAO-W DVA will not prosecute the Company for any criminal conduct
occurring priortotheentering ofthisagreementconcerning:

                  a.       The subjectmatter ofthe Information to which AHIispleading
         guilty;or
                 b.    Factsdisclosed by the Com pany to theUSAO priorto entering this
         agreementrelated to the Company'slicensingpdispensing,distribution,orsale of
         veterinaryprescription drugs.

    l1.However, ifthe USAO-W DVA in its sole discretion,determines the Company (a)
provided deliberately false,incomplete,ormisleading information atany tim ein connection with
thisAgreementor(b)violatedanyprovisionofthisAgreement,thentheUSAO-W DVA willnot
be bound to theiragreementnotto prosecutethe Company forthe matterscovered in paragraph
 10.Should the U SAO-W DVA determine thatthe Company hasviolated any provision ofthis
Agreem ent,theU SAO-W DVA shallprovidepromptwritten noticeto theCompany addressed to
its GeneralCounsel,and to itsoutside counsel,Am y Conway-Hatcher,BakerBottsLLP,1299
PennsylvaniaAvenueN W ,W ashington,DC,orto any successortheCompany may designate,of
theallegedviolationand providetheCompanywitha45(forty-fve)day periodf'
                                                                     rom thedateof
receiptofnoticeinwhichtomakeagresentation totheUSAO-WDVA todemonstratethatno
violationoccurred,or,totheextentappllcable,thattheviolationshouldnotresultin adverseaction,
including because theviolation hasbeen cured by the Company.ln the eventofa violation,the
Companywillnotassertanyclaim undertheUnited StatesConstitution,Rule11(9 oftheFederal
RulesofCriminalProcedure,Rule41O oftheFederalRulesofEvidence,orany otherruleorlaw,
thatany statementsortestimony madeby oronbehalfofthe Company priororsubsequentto this
Agreement,orany leadsderivedtherefrom,shouldbesuppressed orareotherwiseinadmissiblein
anyproceedingbroughtbytheDepartmentofJustice.Itlasaresultofaviolation,theUnitedStates
charges the Company,the Company hereby waiyes any statute of limitations defense for any
offense not time-barred by the applicable statute of limitations on the date this Agreement is
signed,including tim e proteded astheresultofexisting agreementsto tollthe applicable statute
oflim itations.

         12.      TheCompanyw illnot,through itspresentorfuturedirectorsyom cers,employees,
agents,(1)makeany publicstatementor(2)makeany statementortakeanypositioninlitigation
in which any United States department or agency is a party, contradicting any statement or
provision set forth in the Plea Agreement or its attachm ents.Ifthe Company makes a public
statementthatinwhole orin pal4 contradictsany such statem entorprovision,the Company may
avoid being in violation ofthisAgreementby promptly publicly repudiating such statement.For
the purposes of this paragraph,the term Kipublic statem ent'' means any statement made or
authorized by the Company'sdirectors,oK cers,employees,orattorneysand includes,butisnot
limitedto,astatementin (1)apressrelease,(2)publicrelationsmaterial,or(3)theCompany's
AttachmentB-Non-prosecutionAgreementwithPattersonCompanies,Inc.
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 w ebsites.Notwithstanding the above,the Company m ay avail itself of any legal or factual
 argumentsavailable(1)in defendinglitigationbroughtbyaparty otherthantheUnited Statesor
 (2)in anyinquiry,complaint,noticeofviolation,investigation orproceedingbroughtby astate
 entity orby theUnited StatesConp ess.Thisparap aph doesnotapplyto any statementm adeby
 any individualin thecourseofany actualorcontem plated criminal,regulatory,adminiskative,or
 civilcaseinitiatedby any govem m entalorprivateparty againstsuch individual.

          13.      The term softhis Apeem entbind the USAO-W DVA and otherdivisions ofthe
 DepartmentofJustice(collectivelyreferredtoastheçtuzlitedStates''),exceptthattheydonotbind
 theTax Division oftheDepartmentofJustice or any state,local,orforeir 1aw enforcem entor
 regulatory agencies,orany otherauthodties.TheUSAO-W DVA willbring thecooperation ofthe
 Company and its com pliancewith itsotherobligationsundertllisAp eem entto the attention of
 such agenciesand authoritiesifrequested to do so by theCom pany.

          14. TheCompanyandtheUzlitedStatesmaydisclosethisAgeementandanyother
 documentsusedtoeffecmatetheobjectivesofthisAveementtothepubhc.
          15.      Nothing in thisAp eementresolves,in any way,any liability ofany individual.

       16. ThisAp eem entand the Plea Ap eementsetforth a11the term s ofthe agreem ent
 betweentheCom pany andtheU SAO-W DVA .No am endm ents,modifcations,oradditionstothis
 Ar eem entwillbevalid unlessthey arein writing sir edbytheUSAO-W DVA,theattom eysfor
 theCompany,and aduly authorizedrepresentativeofthe Com pany.



       The Com pany acknowledges its acceptance of this Ap eem entby the signature of its
 counseland Ofscer.A copyofaresolutionby theCom pany'sBoard ofDirectorsauthodzing the
 Om certo executetllisAp eementand a11otherdocum entsto resolvethism atteron behalfofthe
 Company isattached asAddendum 1.



   Date: February 12.2020
                                           M ark S.W alchirk
                                           Authorized Corporate Ofscer
                                           Patterson Companies,Inc.




 AttachmentB -Non-prosecutionAgreementwfl/lPattersonCompanies,lnc.
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       Counsel has fully explained to the Board of Directors of the Company the facts and
circumstancesoftheinvestigation and the consequencesofentering intothisAgreem ent.Counsel
hasreviewed thisentire Agreem entand documentsreferenced herein with the client,tlzrough its
Officer. The Company understands the terms and conditions of this Agreement, and the
Company's decision to enter into this Agreement is knowing and voluntary.The Company's
execution ofand entry into thisAgreementisdonewith Counsel'sconsent.


Date:C.
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                                                                         ,.
                                               Amy Conwa -llatcher,Esquire
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                                                                            ) ..-
                                                                                ...
                                               Kyle Clark,Esquire
                                               BakerBottsL.L .P.
                                               CounselforAHIand Patterson Companies,Inc.

Date: 2 - /4 -7/7.:
                                                andyRa seyer
                                               AssistantUnited StatesAttorney




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                                                                                 EXHIBIT A

                                    RESOLW ION OF TIIE
                                   BO ARD OF DIRECTO RS
                                            OF
                               PA TTERSON COU ANIES,INC.

                             NONrPFOSECUTP N AGREEMENT
          W IIEQEAS, the Company, together with outside counsel reporting to tlle Special
   lnvestigation Committeeoftlw Beard CSIC Cpupsel''),hasbeenin discussionswith theU.S.
   Attomey's Om ce for the W estem District of Virginia (I<USAO-W DVA'') to resolve its
   investigaîion into AnimalHealth Intem ationa1,lnc.by,nm ong otherthings,having the Com pany
   enterintoaNon-prosecutionAgreement(thetW kreemenf);
          W HEREAS,SIC Collngelhasadvised the Board ofthe term softhe Av eem entand the
   consequencesofentering into theA greem ent;ànd
          W HEREAS,the Board has determ ined thatit is in the bestinterestofthe Company to
   enterinto the Agreem ent.
          NOW , TH EREFOR E, BE IT RESO LVED, that the Board hereby approves the
   AgreementandauthorizesanyexecutiveoNceroftheCompany(thetAuthorizedOffker#')and
   S1C Counselto execute and deliverthe Agreem enton behalfofthe Company;w i suçh changes
   thereto asthe Authorized Oflk ersm ay approve,such approvalto be conclusively evidenced by
   theexecution ofthechanged A p eem ent.
           RESOLVED FUR TH ER,that the A uthorized Offkers and SIC Counsel ére hereby
   authorized and directed to execute and deliver al1other docum ents necessary to carry outthe
   provisionjoftheAgreement.
          RESOLVED FURTHER, that each A uthorized Om cer is hereby authorized and
   directed to acu owledge on behalfofthe Company thatthe Agreementand related documents
   fully setforth the agreelentm ade between the Company and the USA O-W D VA,and thatno
   édditionalpromisesorrepresentationshave been made io the Company by any om cialsofthe
   UjAO-WDVA in connectionwiththeAgreementand relateddoclmwnts,othertlmn thoseset
   forth in therein.
          RESO LVED FUR THER, that each A uthorized Oflicer is hereby authorized and
   directed to m ake any paymentsrequired in connection w ith the Apw m ent.

          RESOLVED FURTHER,thateachAuthorizep Offkerisauthorizedand empowered,in
   thenameandonbehalfoftheCofnpany,tomakea1lsucharrangementj,tndoandperform all
   such acts and things,and to execute and delivera11such dpcum ents,certG catesand instrum ents
   as they may deem appropriate in orderto effectuate fully the purpose ofthe foregoing
   resolutlons,and thatany actionstaken heretofore and hereafter to accomplish such purposes be,
   andtheyhereby areapproved,ratisedandcontsrmed.
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                            CERTIFICA TE OF SECR ETA RY

        1,LesB.Korsh,herbycertifythatlam now,and ata11tim esm entioned herein havebeew
 the duly dected,qualiGed,and acting Secrdary of PATTERSON COM PANIESN G C.,a
 Minnesotacorporationtthe<$Cor#oratipp''
                                       )and,assuchoo cer,1haveaccesstotherecordsofthe
 Company,whichrecordsofthejjompa   .nyreflecttjyat;
          1.    M SOLUTIONS. Attached herdo as Ee lbitA is a true and correctcopy of
 resolutionsthaihbvebeendulyadoptedbytlleBoardofDiredorsoftheCorm rationonFebmary
 4,2020,in complianceW t.II.andnotin contravention of,thearticlesoforganizaion and bylaws
 ofthe Corporation;none ofsuch resolutionshavebeen repealed ormodife in any respect,and
 a11ofsuch resolutionsarein fullforceand effecton and asofthedatehereof,and constitutethe
 onlyactiontakenbytheBoardofDirectorsoftheComoraGonwithrespeottothesubjectmatter
 hereof

          IN W ITNESS W HEREOF,Iduly executed tlzisCertiEcate'this 1Q* day ofFebruary,
 2020.
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                                       :< *...             . .        T'21   ''.
                                                                                 '
                                                       .                             .
                                                 ...       ,,,..?          7'c           '.-   .   ''
                                                                    .:
                                                                     . ... .                            .




                                             EesB.Korsh              .

                                             Secretary ofPatterson Com panies,Inc.
